                           IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

COMMON CAUSE, et al.,

                                      PLAINTIFFS,

                           v.
                                                                  CIVIL ACTION
                                                           NO. 1:16-CV-1026-WO-JEP
ROBERT A. RUCHO, in his official capacity as
Chairman of the North Carolina Senate
                                                              THREE-JUDGE COURT
Redistricting Committee for the 2016 Extra
Session and Co-Chairman of the Joint Select
Committee on Congressional Redistricting,
et al.,
                               DEFENDANTS.


LEAGUE OF WOMEN VOTERS OF NORTH
CAROLINA, et al.,

                                        PLAINTIFFS,

                           v.
                                                                  CIVIL ACTION
ROBERT A. RUCHO, in his official capacity as                NO. 1:16-CV-1164-WO-JEP
Chairman of the North Carolina Senate
Redistricting Committee for the 2016 Extra                     THREE JUDGE COURT
Session and Co-Chairman of the 2016 Joint
Select Committee on Congressional
Redistricting, et al.,

                                      DEFENDANTS.



             JOINT NOTICE REGARDING POTENTIAL SPECIAL MASTER

            Pursuant to this Court’s instructions on August 27, 2018, ECF 142 in 1:16-cv-

1026 and ECF 141 in 1:16-cv-1164, Joint Plaintiffs (Common Cause Plaintiffs and LWV
1592959.1
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Plaintiffs), State Defendants and Legislative Defendants notify the Court that the parties

were unable to agree upon three names of individuals qualified to serve as special master.

Joint Plaintiffs and Legislative Defendants conferred and submitted names to one another

(with Legislative Defendants stating that they did so subject to their objections regarding

the propriety of any order appointing a special master) but were unable to reach

agreement on those names. The State Defendants took no position but indicated a

willingness to agree to any names agreed to by the other parties.

       Respectfully submitted, this 29th day of August, 2018.


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                            CERTIFICATE OF SERVICE

       I hereby certify that I have this day electronically filed the foregoing with the
Clerk of Court using the CM/ECF system which will send notification of such filing to all
counsel and parties of record.

      This the 27th day of August, 2018.

                                         /s/ Allison J. Riggs
                                         Allison J. Riggs




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